Case 8-18-72852-reg Doc 11 Filed 06/21/18 Entered 06/21/18 16:57:13

UNI'I`ED STATES BANKRUPTCY COURT
EASTERN DISTR.ICT OF NEW YORK

 

 

X
ln Re: NOTICE OF MOTION
TO ADMIT COUNSEL
DOREEN HOFFMAN, PRO HAC VICE
Debtor-in-Possession.
Bankruptcy No. 8-18-72852-reg
~--- x

PLEASE TAKE NOTICE that, upon the annexed affidavit of movant in support of this motion,
applicant will move this Coun before the Honorable Robert E. Grossman at the United States Bankruptcy
Court, located at 290 Federal P|aza, P.O. Box 9013, Central lslip, New Vork 11722-9013 , pursuant co Ru]e

 

2090-l (b) of the Local Rules of the United States Bankruptcy Court for the Eastem District of New York,
d District Court Local Rnle l .3(6), and District Conrt Administrative Order97-13, for an Order allowing the

 

 

admission of movant, a member of the firm of Maciag Law LLC and a member in good
standing of the Bar of the State(s) of New Jersey , and or the U.S. Dlstrict Court
for the District of New Jersey , as attorney pro hac vice to argue or

 

try this case in whole or in part as eounsel.

Respect ll submitted,

   
    
 

/s/ Thaddeus R. Macia
($ignatme a§ .Mouant)

THADDEUS R. MACIAG, Esq.
Dated: Q’ /\‘\I 10 \T (Prim or npe Name) /

 

prol\acnd mm ps l'»' Re\'.5!29ll3

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UNITED S'I`ATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

 

x
ln re:
AFFII)AVIT IN SUPPORT OF
DOREEN HOFFMAN, MOTION TO ADMIT COUNSEL
PRO HAC VlCE
Debtor-in-Possession.
Case Numher: 8-18-72852-reg
Chapter: l l
x
Thadd°“$ R» Mafiag , being duly swom, hereby deposes and says as foilows:
|- l am (3/3“) _M__ With the law firm of Maciag Law I_.L.C‘
2. l submit this affidavit in support of my motion for admission to practice pro hac vice in the above

.¢"‘

captioned matter.

As shown in the Certificate(s) of Good Standing annexed hereto l am a member in good standing of
the Bar of the State(s) of New Jersey (and also ofthe U.S. District Court, D,N_l., and the U.S. Third Circuit)_

There are no pending disciplinary proceedings against me in any State or Federa| Court.

l [circle one] have M convicted of a felony. fry you circled “have, ” please describe

facts and circumstance.i‘.] - HAVE NOT -

 

 

 

 

 

l [circle one] hav®censured, suspended, disbarred or denied admission or

readmission by any court, [H you circled “have,” please describe facts and circumslances.]
- HAVE NOT-

 

 

 

 

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7. Wherefore you affiant respectfully submits that sfhe be permitted to appear as counsel and advocate
pro hac vice in this one case for Plaintiff/Defendanl Doreen Hol`fman, Debtor-ia-Possession

Dated: June 19, 2018

 

 

lsi Thaddeus R. Maciag

Address 475 Wall Street

Princeton. NJ 08540
Email Maciag Lawl@aol.com
Phone

Signature of Movant
Firm Name Maciag Law LLC

 

 

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Supceme Coutt cf New Jecsey

 

Certificate of Good Standing

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UNI'I'ED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: Case No.: 8-18-72852-reg
DOREEN HOFFMAN, Chapter L

Debtor

 

Adversary Proceeding No.: n/a
Plainliff

Defendant

X

 

ORDER GRANT]NG ADMISSION TO PRACTICE, PRO HAC VICE

Upon the motion of Thaddeus R. Maciag, Esq. y to be admitted, pro hac vice, to

 

represent Doreen HoH:`man g (the “Client”) a Debtor-in-Possession

 

in the above referenced Ei:ase l:|dversary proceeding, and upon the movant’s certification that the

movant is a member in good standing of the bar in the State of New Jersey and, if
applicable, the bar of the U.S. District Court for the Dislrict of
New Jersey , it is hereby

ORDERED, that Thaddeus R. Mmijg, Esq. , Esq., is admitted to practice, pro hac vice,

 

in the above referenced El:ase m dversary proceeding to represent the Client, in the United States
Bankruptcy Coutt for the Southern District of New York, provided that the filing fee has been paid.

Dated:

, New York /s/

 

UNITED STATES BANKRUPTCY JUDGE

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IN THE UNITED STATES BANKRUPTCY

COURT FOR THE EASTERN DISTRICT OF NEW YORK

 

In Re:
Doreen Hoffman

Debtor(s)

 

 

Chapter ll

Bankruptcy Case: 18--72852

AEELDA¥II_QE§EB¥!QE

I, John P. Fazzio HI, hereby afflrm, under the penalty of perjury, that a true and correct
copy of the within Rule 1007 Afiidavit, Notice of Motion to Admit Counsel Pro Hac Vice with
Affidavit and Proposed Order, Notice of Motion Employ Bankruptcy Counsel Thaddeus R.
Maciag as Co~Counsel with Application, Affirmation, and Proposed Form of Order, together
with this Certificate, was sent by first class, postage prepaid mail on the Creditor Counsel and
the Trustee and all other required parties in accordance With the Rules of Bankruptcy Procedure

on the date set forth below.

Henry Weinstein
37 Maple Avenue
Cedarhurst, NY 11516

New City Funding Corp.
PO Box 121
Stony Point, NY 10980

Rushmore Loan Management
PO Box 52708
Irvine, CA 92619

suffolk county water
2045 Route 1112, Suite 5
Coram, NY 11727

US Bank NA as Legal Title Trustee
200 Business Park Drive
Armonk, NY 105 04

U.S. Internal Revenue Service
PO Box 804527
Cincinnati, OH 45280-4527

AMCMA
4 Westchester Plaza, Suite 110
Elmsford, NY 10523

American Medical Collection
4 Westchester Plaza

via ECF and First Class Mail

via ECF and First Class Mail

via ECF and First Class Mail

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via ECF and First Class Mail

via ECF and First Class Mail

via ECF and First Class Mail

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Elmsford, NY 10523

Credit Collections Services
725 Canton Street
_ Norwood, MA 02062

Credit One Bank
PO Box 60500
City of Industry, CA 91715

Excluder Security Systems
PO Box 1286
Massapequa, NY 11758

Fazzio Law Offices
164 Franklin Turnpike
Mahwah`, NJ 07430

Joyce Ciccone
9337 Santa Monica Way
New Port Richey, FL 34655

Lennox Hill Hospital
co-Automated Financial ‘
4505 Veterans Mem. Hwy, Ste H
Lake Ronkonkorna, NY 11779

LI Anesthesiologist
3 Boyle Road
Selden, NY 1 1784

Linda Cerami
107 Laurel Street
Patchogue, NY 11772

Mullen & Iannarone PC
300 East Main Street
Smithtown, NY 1 1787

NY State Dept. of Taxation
NYS Assessment Receivables
PO Box 4127

Bingharnton, NY 13902-4127

National Grid
PO Box 11791
Newark, NJ 07101

Optimum Cable Vision
111 l Stewart Ave.
Bethpage, NY 1 1714

PSEG-LI
PO Box 888
Hicksville, NY 11802

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Quest Diagnostics via ECF and First Class Mail

PO Box 7308
Hollister, MO 65673-7308

Stewart Brody DDS via ECF and First Class Mail
c~o Richard Sokoloff Esq.
900 S. 2nd Street, Suite 1
Ronkonkoma, NY 11779

FAZZIO LAW OFFICES

Date: 06/21/2018 BY: /s/ John P. Fazzio III, Esguire
Fazzio Law Offlces

164 Franklin Tpke
Mahwah, NJ 07430
Tel. 201-529-8024
Attorney for Debtor

